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      Attorney for Defendant
 
      Reymund Baluyut
  
                              UNITED STATES DISTRICT COURT
  
                                   DISTRICT OF NEVADA
  
          UNITED STATES OF AMERCIA,                      2:19-cr-00300-JCM-EJY


                          Plaintiff,              STIPULATION TO CONTINUE

          vs.                                              SENTENCING

       REYMUND DE LOS SANTOS                              (First Request)
       BALUYUT,

                          Defendant.


 
                IT IS HEREBY STIPULATED AND AGREED, by and between
 
      Nicholas A. Trutanich, United States Attorney, and Jamie Mickelson,
 

   Assistant United States Attorney, counsel for the United States of America,

      and William H. Brown, Esq., of BROWN MISHLER, PLLC, counsel for



      defendant Reymund Baluyut, that the sentencing hearing currently

   scheduled for November 18, 2020, at 10:00 a.m., be vacated and continued

      sixty (60) days to January 18, 2020, or alternatively to a subsequent date and


    time convenient to the Court.
 
                This Stipulation is entered for the following reasons:


                                                 1
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 
             1.   This is the first requested continuance for sentencing.

           2.   Defense counsel seeks additional time to research and investigate
 
      potential sentencing issues.
 

           3.   Defendant is out of custody and does not object to the need to
 
      continue sentencing.
  
             4.   The government agrees to the requested continuance.
  

            This is the first request for a continuance of sentencing.

             Date: October 20, 2020



          Counsel for REYMUND BALUYUT             NICHOLAS A. TRUTANICH
                                                  United States Attorney


       /s/ William Brown                       /s/ Jamie Mickelson
          WILLIAM H. BROWN                        JAMIE MICKELSON
       BROWN MISHLER, PLLC                     Assistant United States Attorney
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      Attorney for Defendant
 
      Reymund Baluyut
  
                             UNITED STATES DISTRICT COURT
  
                                  DISTRICT OF NEVADA
  
          UNITED STATES OF AMERCIA,                    2:19-cr-00300-JCM-EJY


                         Plaintiff,                 ORDER CONTINUING

          vs.                                           SENTENCING DATE

       REYMUND DE LOS SANTOS
       BALUYUT,

                         Defendant.


 
                Based on the pending stipulation of counsel, and good cause appearing
 
      therefore, the Court hereby vacates the current sentencing date of November
 

   18, 2020, and continues the date sixty (60) days, such that the new

                               January 20, 2021 at 10:00 a.m.
      sentencing date shall be ________________.



                      October
                DATED this ___ 21,
                               day2020.
                                   of October, 2020.



                                         UNITED STATES DISTRICT JUDGE


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